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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  STRIKE 3 HOLDINGS, LLC,
                                              Case No. 2:24-cv-10759-EP-JRA
                     Plaintiff,

        v.                                            [PROPOSED] ORDER

  JOHN DOE subscriber assigned IP
  address 74.102.72.115,

                     Defendant.


       THIS MATTER having been opened to the Court by John C. Atkin, Esq., on

 behalf of Plaintiff Strike 3 Holdings, LLC (“Plaintiff”), on a Motion for an extension

 of time within which to effectuate service of process in this matter, pursuant to

 Federal Rule of Civil Procedure 4(m); it appearing that Defendant John Doe

 subscriber assigned IP address 74.102.72.115 (“Defendant”) has not yet been served

 in this matter; the Court having considered Plaintiff’s written submissions in

 connection with the motion pursuant to Federal Rule of Civil Procedure 78, and for

 good cause shown,
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       IT IS on this _____ day of ________________, 2025,

       ORDERED that Plaintiff’s motion [ECF No. 7] is GRANTED; and

       IT IS FURTHER ORDERED that Plaintiff’s time to effectuate service of

 process on Defendant is extended to May 3, 2025.


                               By:   _______________________________
                                     The Honorable Jose R. Almonte
                                     United States Magistrate Judge


      Opposed
      Unopposed




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